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              10
              11
                                          UNITED STATES DISTRICT COURT
              12
                                        CENTRAL DISTRICT OF CALIFORNIA
              13
              14
                       Skot Heckman, Luis Ponce, Jeanene          Case No. 2:22-cv-00047-GW-GJS
              15       Popp, and Jacob Roberts, on behalf of
                       themselves and all those similarly
              16       situated,                                  DECLARATION OF TIMOTHY
                                                                  L. O’MARA IN SUPPORT OF
              17                         Plaintiffs,              DEFENDANTS’ MOTION TO
              18                                                  COMPEL ARBITRATION
                       v.
              19                                                  The Honorable George H. Wu
                       Live Nation Entertainment, Inc., and
              20       Ticketmaster LLC,
              21                         Defendants.              Hearing Date: May 26, 2022
              22                                                  Hearing Time: 8:30 a.m.
              23                                                  Courtroom: 9D, 9th Floor
              24
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                                                                         DECLARATION OF TIMOTHY L. O’MARA
ATTORNEYS AT LAW
 SAN FRANCISCO
                                                                               CASE NO. 2:22-CV-00047-GW-GJS
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                   1 I, TIMOTHY L. O’MARA, declare as follows:
                   2        1.      I am a partner at the law firm of Latham & Watkins LLP, counsel for
                   3 Defendants Ticketmaster L.L.C. and Live Nation Entertainment, Inc. (together,
                   4 “Defendants”). I am an attorney in good standing in the State of California, and I
                   5 am admitted to practice before this Court. I make this Declaration in support of
                   6 Defendants’ Motion to Compel Arbitration. The facts set forth herein are based on
                   7 my personal knowledge; if called upon to do so, I can and will competently testify
                   8 to these facts.
                   9        2.      Attached as Exhibit A is a true and correct copy of New Era ADR’s
              10 Rules        and      Procedures, available at       https://www.neweraadr.com/rules-and-
              11 procedures/ (last visited March 8, 2022).
              12            3.      Attached as Exhibit B is a true and correct copy of Exhibit I filed in
              13 support of the motion to compel arbitration in Abadilla v. Uber Techs., Inc. No. 3:18-
              14 cv-07343-EMC, ECF No. 3-4 (N.D. Cal. Dec. 5, 2018).
              15            4.      Attached as Exhibit C is a true and correct copy of the CPR
              16 Employment-Related Mass Claims Protocol, available at https://www.cpradr.org/
              17 resource-center/rules/pdfs/ERMCP-2021.pdf (last visited March 8, 2022).
              18
              19            I declare under penalty of perjury that the foregoing is true and correct.
              20 Executed on March 8, 2022.
              21
              22
              23                                                               Timothy L. O’Mara
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                                                                            DECLARATION OF TIMOTHY L. O’MARA
ATTORNEYS AT LAW
 SAN FRANCISCO                                                    1               CASE NO. 2:22-CV-00047-GW-GJS
